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 1   Jeff D. Friedman (173886)
     HAGENS BERMAN SOBOL SHAPIRO LLP
 2   715 Hearst Avenue, Suite 202
     Berkeley, California 94710
 3   Telephone: (510) 725-3000
     Facsimile: (510) 725-3001
 4   jefff@hbsslaw.com

 5   Steve W. Berman (pro hac vice)
     HAGENS BERMAN SOBOL SHAPIRO LLP
 6   1918 Eighth Avenue, Suite 3300
     Seattle, Washington 98101
 7   Telephone: (206) 623-7292
     Facsimile: (206) 623-0594
 8   steve@hbsslaw.com

 9   Marc A. Goldich (pro hac vice)
     Noah Axler (pro hac vice)
10   AXLER GOLDICH, LLC
     1520 Locust Street, Suite 301
11   Philadelphia, PA 19102
     Telephone: (267) 534-7400
12   mgoldich@axgolaw.com
     naxler@axgolaw.com
13
     Attorneys for Plaintiffs
14
                                  UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                          SAN JOSE DIVISION
17
     IN RE SEAGATE TECHNOLOGY LLC                       No. 3:16-cv-00523-JCS
18   LITIGATION
                                                        STIPULATION TO MODIFY CLASS
19                                                      CERTIFICATION DEADLINE

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 1            Pursuant to Local Rule 6-2, the parties stipulate to an extension of time for filing Plaintiffs’

 2   Motion for Class Certification, Defendant’s opposition to the same, and Plaintiffs’ reply.

 3            WHEREAS, the parties have encountered discovery delays that cannot be resolved prior to

 4   late August or early September, including but not limited to document productions relating to all

 5   ST3000DM001 models as ordered by the Court on June 9, 2017 (ECF 120) and multiple witnesses’

 6   availability for depositions,

 7            WHEREAS, in light of the foregoing, based on the discovery requested and exchanged to

 8   date, granting the stipulated extension for briefing and hearing Plaintiffs’ Motion for Class

 9   Certification will allow for a more complete and orderly presentation of the factual and legal issues

10   the Court will need to resolve in connection with Plaintiffs’ Motion, and will not have any effect on

11   any later event or deadline already fixed by court order;

12            NOW THEREFORE, pursuant to Local Rule 6-2, the parties jointly make the stipulated

13   request that this Court enter an order modifying the schedule for briefing and hearing Plaintiffs’

14   Motion for Class Certification as follows:

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16   Motion for Class Certification                                    November 8, 2017
17   Opposition to Motion for Class Certification                      December 8, 2017
18   Reply in Support of Motion for Class Certification                January 5, 2018
19   Hearing on Motion for Class Certification                         February 9, 2018, at 9:30 a.m.
20

21            Local Rules 6-2 and 7-1 permit the parties to stipulate provided that they, inter alia, reduce
22   the stipulation to written form and file it with the Court. The stipulation is effective upon the Court’s
23   approval.
24            IT IS SO STIPULATED.
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     STIPULATION TO MODIFY CLASS CERTIFICATION - 1
     Case No.: 3:16-cv-00523-JCS
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 1   DATED: August 3, 2017                  HAGENS BERMAN SOBOL SHAPIRO LLP

 2
                                            By:       /s/ Steve Berman
 3                                               Steve W. Berman (pro hac vice)
                                            Ashley A. Bede (pro hac vice)
 4                                          1918 Eighth Avenue, Suite 3300
                                            Seattle, Washington 98101
 5                                          Telephone: (206) 623-7292
                                            Facsimile: (206) 623-0594
 6                                          steve@hbsslaw.com
                                            ashleyb@hbsslaw.com
 7
                                            Jeff. D. Friedman (173886)
 8                                          715 Hearst Avenue, Suite 202
                                            Berkeley, California 94710
 9                                          Telephone: (510) 725-3000
                                            Facsimile: (510) 725-3001
10                                          jefff@hbsslaw.com
11                                          Marc A. Goldich (pro hac vice)
                                            Noah Axler (pro hac vice)
12                                          AXLER GOLDICH, LLC
                                            1520 Locust Street, Suite 301
13                                          Philadelphia, PA 19102
                                            Telephone: (267) 534-7400
14                                          mgoldich@axgolaw.com
                                            naxler@axgolaw.com
15
                                            Attorneys for Plaintiffs
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     STIPULATION TO MODIFY CLASS CERTIFICATION - 2
     Case No.: 3:16-cv-00523-JCS
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       Case 3:16-cv-00523-JCS     Document 125       Filed 08/03/17   Page 4 of 5




 1   DATED: August 3, 2017                  SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

 2
                                            By:    s/ Anna S, McLean
 3                                              Anna S.McLean (142233)
                                                Neil A.F. Popović (132403)
 4                                              Tenaya Rodewald (248563)
                                                Liȇn H. Payne (291569)
 5                                              Joy O. Sui (307610)
                                            Four Embarcadero Center, 17th Floor
 6                                          San Francisco, CA 94111
                                            Telephone: (415) 434-9100
 7                                          Facsimile: (415) 434-3947
                                            amclean@sheppardmullin.com
 8                                          npopovic@sheppardmullin.com
                                            trodewald@sheppardmullin.com
 9                                          lpayne@sheppardmullin.com
                                            jsiu@sheppardmullin.com
10
                                            Mukund H. Sharma (249125)
11                                          379 Lytton Avenue
                                            Palo Alto, CA 94301
12                                          Telephone: (650) 815-2600
                                            Facsimile: ((650) 815-2601
13                                          msharma@sheppardmullin.com
14                                          Attorneys for Defendant
15   IT IS SO ORDERED.
16
     DATED:
17

18                                          CHIEF MAGISTRATE JUDGE JOSEPH C. SPERO

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     STIPULATION TO MODIFY CLASS CERTIFICATION - 3
     Case No.: 3:16-cv-00523-JCS
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 1                         ATTESTATION PURSUANT TO LOCAL RULE 5-1(i)(3)
 2            I, Steve W. Berman, am the ECF User whose identification and password are being used to

 3   file the foregoing document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that all

 4   signatories have concurred in this filing.

 5
              Dated: August 3, 2017
 6
                                                     /s/ Steve W. Berman
 7                                                 Steve W. Berman
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     STIPULATION TO MODIFY CLASS CERTIFICATION - 4
     Case No.: 3:16-cv-00523-JCS
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